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UNITED STATES I)ISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISI()N
DANlEL JACKSON, )
)
Plaintiff, ) l4 C 3509

)

vs. ) Honorable Judge

) Virginia Kendall
THOMAS DART, )
)
Defendant. )

STIPULATION TO DISMISS WITH PREJUDICE

NOW COl\/IES Plaintiff Daniel Jackson pro se, and Defendant Thomas
Dart(“Defendant”), by and through their attorney KIMBERLY FOXX, State’s Attorney of Cook
County, and through her Assistant, NICOLAS CASTIGLIONE, and moves this Honorable Court

as folloWs:

l. The Parties stipulate to the dismissal of the PLAINTIFF’S claims against
DEFENDANTS, With prejudice and Without costs because the matter has been settled to

the mutual satisfaction of the Parties.

2. The parties pray that the Cour't Will enter an order of dismissal terminating the case

against DEFENDANTS, in its entirety.

WHEREFORE, Plaintiff and Det`endant prays that this Honorable Court enter an order of
dismissal terminating the case against DEFENDANT, in its entirety, With prejudice and Without

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For Plaintiff:

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Daniel Jaclg<e§“h

For Defendant:

s/Nicolas Castz`glz`one
Nicolas P. Castiglione

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